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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


FREEDOM FROM RELIGION                         :   Civil Action No. 2:12-cv-01406
FOUNDATION, INC., DOE 4, by Doe 4’s           :
next of friend and parent Doe 5, who also     :
sues on Doe 5’s own behalf,                   :
                                              :
                       Plaintiffs,            :
vs.                                           :
                                              :
CONNELLSVILLE AREA SCHOOL                     :
DISTRICT,                                     :
                                              :
                        Defendant.            :
                                              :


                                            ORDER

       AND NOW, this _______
                      20th day of _________________,
                                   December          2013, upon consideration of the

foregoing Joint Motion to Extend Time to Complete Discovery, it is hereby ORDERED,

ADJUDGED and DECREED that said Motion is hereby GRANTED. Discovery shall now be

concluded on or before December 2 0, 2013 and the post-discovery status conference is

rescheduled to _________________________________.
                  December 20, 2013 at 1:00PM



                                            BY THE COURT:




                                            s/ Terrence F. McVerry
                                                                                   J.




                                              1
